                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

_________________________________________
AMERICAN CENTER FOR LAW                   :
AND JUSTICE – NORTHEAST, INC.,            :                    CIVIL ACTION NO.
            Plaintiff                     :
                                          :                    3:12-cv-730 (JBA)
v.                                        :
                                          :
AMERICAN CENTER FOR LAW AND               :
JUSTICE, INC., and JAY ALAN SEKULOW :
            Defendants.                   :                    JUNE 11, 2012

                                FIRST AMENDED COMPLAINT

I.       INTRODUCTION

         1.    This is an action for breach of a contract between the Plaintiff and Defendants

dated August 1,1997 together with a request for Declaratory Relief clarifying the use of the name

"American Center for Law and Justice" in connection with the Plaintiff's corporation, American

Center for Law and Justice – Northeast, LLC. As of May 22, 2012, days after Plaintiff

commenced this action, Defendant ACLJ National ceased all payments to Plaintiff pursuant to

the Contract. If Defendant is not ordered to resume making payments to Plaintiff under the

Contract, through and beyond July 31, 2012, Plaintiff will not be able to continue operations, and

it will cease to exist. Accordingly, Plaintiff is also seeking a preliminary injunction to restore the

status quo and prevent Defendant’s unlawful conduct from causing catastrophic - - and

irreparable - - harm to Plaintiff, and to Plaintiff’s employees, who derive all their income through

their work for Plaintiff, and Plaintiff’s clients, who receive representation at no charge on

important issues of fundamental constitutional significance. Further, Plaintiff has no adequate

relief at law as future damages will not restore Plaintiff as a viable business after it ceases to

exist.
II.    THE PARTIES

       2.      Plaintiff, American Center for Law and Justice – Northeast, Inc., (“ACLJ

Northeast”), is a Connecticut not for profit 501(c)(3) corporation, whose business it is to

represent individuals and organizations, at no charge, whose First Amendment constitutional

rights or whose family rights have been violated. Plaintiff ACLJ Northeast has a principal place

of business in Connecticut.

       3.      Defendant, American Center for Law and Justice, Inc., (“ACLJ National”), is a

not for profit corporation with 501(c)(3) status whose mission it is also to represent individuals

asserting their First Amendment rights. Defendant ACLJ National is not a Connecticut

corporation, and does not have a principal place of business in Connecticut, but Defendant ACLJ

National does transact business in the State of Connecticut. Defendant ACLJ National has

offices in Virginia, Washington, D.C., New York, Kentucky, and Tennessee, as well as

international offices in Israel, Kenya, Russia, France, Pakistan, and Zimbabwe. Defendant ACLJ

National is also a d/b/a for another organization called Christian Advocates Serving Evangelism,

Inc., which Defendant ACLJ National describes on its website as “a tax-exempt, not for profit,

religious corporation as defined under Section 501(c)(3) of the Internal Revenue Code,

specifically dedicated to the ideal that religious freedom and freedom of speech are inalienable,

God-given rights.” Upon information and belief, Christian Advocates Serving Evangelism, Inc.

is a shell corporation that conducts no representation of clients, but pays funds to Defendant

ACLJ National, members of Defendant Sekulow’s family, and other business interests in which

Defendant Sekulow’s family possess ownership interests. The Executive Director of Defendant

ACLJ National is Jordan Sekulow, son of Defendant Jay Sekulow.




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       4.      Defendant, Jay Alan Sekulow, (“Sekulow”), is the principal leader, and Chief

Counsel, of Defendant ACLJ National. Sekulow is not only the face of Defendant ACLJ, but, as

Chief Counsel, he makes all important decisions regarding the organization, including hiring and

firing decisions, and he also conducts a daily radio program that is nationally syndicated called

“Jay Sekulow Live” – that is broadcast in Connecticut - in which he promotes ACLJ National

and raises funds. Defendant Sekulow signed the Contract that is the subject of this lawsuit, and

undertook certain obligations relating to that Contract in order to induce Plaintiff to enter into the

Contract. Defendant Sekulow does not reside in the State of Connecticut, but has residences in

several other States, including Virginia Beach, VA, Nashville, TN, and in North Carolina.

Defendant Sekulow does business in Connecticut and engages in substantial fund-raising

activities in Connecticut. Defendant Sekulow's son, Jordan Sekulow, also has a daily radio

show, called the "Jordan Sekulow Show" which is syndicated. In both radio shows, Defendant

Sekulow discusses, inter alia, the work of ACLJ National.

III.   JURISDICTION

       5.      This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. §

1332 because the parties are completely diverse, and the amount in controversy is greater than

$75,000.

IV.    BACKGROUND

       The Contract

       6.      On August 1, 1997, Defendant ACLJ National and Plaintiff ACLJ Northeast,

entered into an “Inter-Organizational Pledge and Grant Agreement” (hereinafter “Contract”). A

copy of the Contract is attached hereto as Exhibit A.




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       7.      The Contract also contained an acknowledgement, personally executed by

Defendant Sekulow, stating as follows: “In order to induce the American Center for Law and

Justice, Northeast and its constituent attorneys to enter into the foregoing Agreement, and in

consideration thereof, I represent that I have read the Agreement and I undertake to comply with

all of the provisions thereof as they relate to the rendition of my services.”

       8.      Pursuant to that Contract, Defendant ACLJ National agreed to provide annual

grants to Plaintiff ACLJ Northeast, at a beginning rate of $178,500 per year, and increasing

thereafter, to a present amount of at least $311,000 per year.

       9.      The original term of the Contract was five years, but it included the following

Renewal Clause (paragraph 5):

               ACLJ National and ACLJ Northeast agree that this Pledge and Grant
               Agreement shall automatically renew, with the same terms and conditions,
               for another five (5) year term at the end of the initial five (5) year term,
               and annually thereafter, unless cancelled for cause pursuant to
               paragraph 7 hereof, and notice of said cancellation is given at least six
               (6) months prior to the end of the original five (5) year term, or any
               renewal thereafter. It is anticipated, however, that throughout the term
               hereof of ACLJ National’s annual grant contribution shall increase as
               provided herein, and based on litigation and other activities undertaken by
               ACLJ, Northeast. (emphasis added.)

       10.     Paragraph 7 of the Contract, which contains no cancellation provision, states as

follows:

       Termination/Revocation of Agreement:

               A.    The rights and obligations under this Agreement shall remain in full force
       unless revoked in accordance with subparagraphs 7.B or 7.C.

               B.     The ACLJ National shall have the authority to revoke this Agreement if it
       determines that (1) the ACLJ, Northeast, during any fiscal or calendar year, has expended
       or will expend funds in excess of the revenues that ACLJ, Northeast reasonably could
       have expected to receive or raise during the grant year; (2) ACLJ Northeast has
       knowingly engaged in any activities in violation of federal or state criminal laws or has
       engaged in crimes of moral turpitude; (3) ACLJ, Northeast has failed to assure its



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       continued existence as a nonprofit corporation under state law; (4) ACLJ, Northeast has
       failed to assure its continued existence as a nonprofit corporation under federal law; (5)
       ACLJ, Northeast has failed to comply with applicable fund raising and solicitation laws;
       and (6) ACLJ, Northeast has consistently and frequently failed to comply with its notice
       obligations specified in paragraph 4.A(2) hereof.

               C.     The parties have the right to terminate this Agreement for cause upon
       providing ninety (90) days written notice. Any party alleged to have violated the
       provisions of this Agreement shall have thirty (30) days to cure such violation, or in the
       case of cancellation under paragraph 7(b)(5), to initiate the process to cure said failure to
       comply with the appropriate governmental agency(ies) or court of competent jurisdiction.

       11.     No portion of Paragraph 7 provides Defendant ACLJ National with any authority

to unilaterally cancel, revoke, or terminate the Contract without cause, at any time.

       12.     Thus, at all relevant times, Plaintiff ACLJ Northeast understood, and reasonably

expected, that the Contract between ACLJ Northeast and ACLJ National would continue to

renew, unless it was cancelled for cause pursuant to paragraph 7 of the Contract.

       13.     In 2002, at the conclusion of the first five year term of the Contract, the Contract

renewed for another five year term pursuant to the Renewal Clause of the Contract.

       14.     In 2007, at the conclusion of the second five year term, the Contract renewed

again pursuant to the Renewal clause of the Contract.

       15.     The Contract continued to renew annually pursuant to the Renewal Clause of the

Contract in 2008, 2009, 2010, and 2011.

       Defendant ACLJ National’s Obligations Under the Contract

       16.     Since 1997, the funds provided by Defendant ACLJ National, pursuant to the

Contract, have accounted for nearly 100 percent of the total revenue received by Plaintiff ACLJ

Northeast.

       17.     In the term of the Contract between August 1, 2011 and July 31, 2012, Defendant

ACLJ National was scheduled to provide approximately $311,000 in funding to Plaintiff ACLJ




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Northeast to support its operation and expenses, in addition to reimbursement for litigation

related expenses.

       18.     In addition to the annual Grant paid by Defendant ACLJ National to Plaintiff

ACLJ Northeast, which is paid in bi-monthly installments, the Contract provides that Defendant

ACLJ National will also pay significant amounts for Plaintiff ACLJ Northeast’s costs for health,

dental, disability, life, workman’s compensation, professional liability, personal liability

insurance, and WESTLAW research (or similar legal resource) costs through the term(s) of the

Contract. Defendant ACLJ National maintains a 401(k) plan in which ACLJ Northeast

employee’s participate.

       19.     The Contract also provides that Defendant ACLJ National shall fund the costs

incurred in connection with litigation matters handled by Plaintiff ACLJ Northeast, including

printing costs, travel costs of attorneys (including lodging and meals), deposition costs, expert

witness fees, copying, filing fees and other court costs, and other costs approved by the Chief

Counsel in advance. In addition, ACLJ National provided computers and computer support

services to ACLJ Northeast.

       20.     The Contract also states that Defendant ACLJ National will provide Plaintiff

ACLJ Northeast a monthly list of potential cases, based upon that month’s intake from

Defendant ACLJ National and ACLJ South. Plaintiff ACLJ Northeast shall have the opportunity

to request that certain cases on the monthly list be assigned to Plaintiff ACLJ Northeast for

follow-up and/or prosecution. The Contract indicates that case assignments shall be made by the

Chief Counsel, Jay Alan Sekulow.




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        Responsibilities of ACLJ Northeast Under the Contract

        21.     Plaintiff ACLJ Northeast also agreed to undertake certain responsibilities under

the Contract.

        22.     Plaintiff ACLJ Northeast agreed to maintain its corporate financial books and

records in accordance with generally accepted accounting principles.

        23.     Plaintiff ACLJ Northeast agreed to be responsible for all employee payroll

functions, the filing of all necessary tax forms, and the payment of all taxes due from the

organization, from funds provided by Defendant ACLJ National.

        24.     Plaintiff ACLJ Northeast agreed to pay employee salaries and payroll taxes

(including FICA), to pay all lease payments and related office costs (such as electricity and

telephone bills), and to pay all library maintenance costs, from funds provided by Defendant

ACLJ National.

        25.     Plaintiff ACLJ Northeast and Defendant ACLJ National also agreed in the

Contract that Plaintiff ACLJ Northeast’s explicit areas of responsibility would be the states of

New York, Rhode Island, Maryland, New Jersey, New Hampshire, Maine, and Connecticut, and

that Plaintiff ACLJ Northeast shall have the primary responsibility for any litigation,

governmental initiative, or legislative effort arising in those states.

        26.     The Contract also stipulates that cases originating from the ACLJ Northeast

offices shall remain within that organization, unless the Chief Counsel determines that exigent

circumstances or other significant factors require a different regional ACLJ organization to

handle the matter. The Contract makes clear that the determining factors in all such decisions

will be the governing laws and legal ethical responsibilities of the pertinent jurisdictions.




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       27.     The operations of Plaintiff ACLJ Northeast have been completely dependent upon

the funds provided by Defendant ACLJ National pursuant to the Contract. All operational

expenses, and employee compensation and benefits of Plaintiff ACLJ Northeast are paid with the

funds received from Defendant ACLJ National. As a result of the funds that Plaintiff ACLJ

Northeast receives from Defendant ACLJ National pursuant to the Contract, Plaintiff ACLJ

Northeast is able to represent individuals and organizations whose First Amendment rights, and

family rights, have been violated without requiring those individuals or organizations to pay

money to Plaintiff ACLJ Northeast for the legal services provided to them, and without requiring

those individuals or organizations to pay for the litigation costs associated with the prosecution

of their claims.

       Defendants ACLJ National and Sekulow Have Breached The Contract

       28.     On or about January 5, 2012, an officer/agent of Defendant ACLJ National, Stuart

Roth, notified Plaintiff ACLJ Northeast, through its President, Vincent McCarthy, that

Defendant ACLJ National “was going in a different direction” and therefore the grant from

Defendant ACLJ National to Plaintiff ACLJ Northeast would be terminated as of August 1,

2012. During said discussion, Roth did not cite any provision in the Contract as justification for

termination of the grant, and neither proclaimed to have any basis for cancelling the Contract for

cause, nor provided an opportunity to cure. In fact, Roth stated that the decision to terminate the

Contract had nothing to do with the work of Attorney Vincent McCarthy, the President of

Plaintiff ACLJ Northeast. While it was Roth who made the call to Plaintiff ACLJ Northeast on

behalf of Defendant ACLJ National, it was Defendant Sekulow who made the decision to try to

terminate the funding to Plaintiff ACLJ Northeast in violation of the requirements of the

Contract.




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       29.     On January 6, 2012, Defendant ACLJ National sent a letter to Plaintiff ACLJ

Northeast, which is attached as Exhibit B. (The letter was dated incorrectly as January 6, 2011.)

The January 6, 2012 letter was signed by James E. Murphy, the Vice President for

Administration of Defendant ACLJ National, and stated that Defendant ACLJ National would

not be renewing the Contract with Plaintiff ACLJ Northeast at the end of the current term ending

on July 31, 2012. The January 6, 2012 letter from Defendant ACLJ National was also silent as

to Defendant ACLJ National’s reason for unilaterally cancelling the Contract, and made no claim

that Defendant ACLJ National was cancelling the Contract for cause. In fact, to the contrary, the

letter stated that Plaintiff’s work on important litigation was much appreciated. While it was

Murphy who signed the letter to Plaintiff ACLJ Northeast on behalf of Defendant ACLJ

National, it was Defendant Sekulow who made the decision to try to terminate the funding to

Plaintiff ACLJ Northeast in violation of the requirements of the Contract.

       30.     Since the Contract clearly states that Defendant ACLJ National can only

terminate the Contract in writing for cause, with opportunity to cure, Defendant ACLJ National’s

attempt to terminate the Contract without cause, and without an opportunity to cure, violates the

Contract.

       31.     Despite the existence and continued validity of the Contract, Defendant ACLJ

National stated, before the filing of the Complaint in this case, that it would cease making the

payments to Plaintiff ACLJ Northeast that are required by the Contract on July 31, 2012, and

provide no reason for the attempted termination or the opportunity to cure any perceived failure

to perform pursuant to the terms of the Contract. Furthermore, despite stating in its January 6,

2012 letter that ACLJ National expected the ACLJ Northeast to “continue to … be responsible

for all litigation cases in which it is currently involved,” counsel for ACLJ National has




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demanded that ACLJ Northeast cease using its name while litigating these cases and has further

contacted Plaintiff’s most important client ex parte and told them that they must choose between

ACLJ Northeast and ACLJ National at their legal counsel.

        32.    Through its officer and agent, Stuart Roth, Defendant ACLJ National also notified

Plaintiff ACLJ Northeast that ACLJ Northeast is not to work on any new cases, even before the

expiration of the current term, which is another breach of the Contract.

        33.    On February 7, 2012, Plaintiff ACLJ Northeast sent a letter, through its counsel,

to Defendant Jay Alan Sekulow, Chief Counsel and Director of ACLJ National, and a co-

signator of the Contract. Said letter demanded that Defendant ACLJ National cease violating the

rights of Plaintiff ACLJ Northeast. After receiving said letter, Defendant ACLJ National failed

to assure Plaintiff ACLJ Northeast that it would abide by its contractual obligations. In fact,

following Defendants’ receipt of that letter from Plaintiff’s counsel, Defendants made it clear

that they had no intention of making further payments to Plaintiff ACLJ Northeast after July 31,

2012.

        34.    Defendant ACLJ National has also breached its contractual obligations to Plaintiff

ACLJ Northeast through other tortious and bad faith conduct.

        35.     Defendant ACLJ National has also breached the obligation to provide Plaintiff

ACLJ Northeast with lists of potential cases, based upon the intake from Defendant ACLJ

National and ACLJ South, and to provide Plaintiff ACLJ Northeast with an opportunity to

request that certain cases on the monthly list be assigned to Plaintiff ACLJ Northeast for follow-

up and/or prosecution.

        36.    The Contract specifically states that case assignments will be made by the

Defendant ACLJ National’s Chief Counsel, who at all times has been Defendant Sekulow. Even




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though the Contract makes it clear that Plaintiff ACLJ Northeast will have primary responsibility

for litigation, government initiative, or legislative efforts in Connecticut, New York, Rhode

Island, New Jersey, Vermont, New Hampshire, and Maine, in recent years, Defendant Sekulow’s

case assignment decisions failed to give Plaintiff ACLJ Northeast primary responsibility for

cases in those states.

        37.     Defendant ACLJ National has also already removed the attorneys of Plaintiff

ACLJ Northeast from the list of counsel appearing on the website of Defendant ACLJ National,

before the expiration of the current term of the Contract. The names of the attorneys of Plaintiff

ACLJ Northeast had been listed as Senior counsel on the website of ACLJ National for years.

        38.     Defendant ACLJ National has also ceased distributing inter-office memoranda to

Plaintiff ACLJ Northeast, including the Weekly Jordan Report, the Supreme Court update, and

other office memos.

        39.     In late April 2012, Defendant ACLJ National began further breaching the

Contract, and harassing ACLJ Northeast, and its President, Vincent McCarthy, through the

conduct of various counsel for Defendant ACLJ National.

        Demand for ACLJ Northeast to Cease Using “ACLJ” trademarks

        40.     On April 27, 2012, Defendant ACLJ National also demanded, through a letter

from its counsel, Attorney Jennifer Whitelaw of the Whitelaw Legal Group, that ACLJ

Northeast, and its President, Vincent McCarthy, “fully cease and desist from all use of the ACLJ

Marks in any manner . . . .” because, according to Attorney Whitelaw, the permission to use “the

ACLJ Mark, or any other mark within the ACLJ Family of Marks, has now been terminated.”

Even though the current term of the Contract did not expire until July 31, 2012, Defendant ACLJ

National claimed to have terminated the ability of ACLJ Northeast to use any ACLJ mark as of




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April 27, 2012, and only offered a “winding down period to allow for the complete cession of

use,” until May 27, 2012. Said letter is attached hereto as Exhibit C. This also represents a

breach of the Contract because, in addition to other legal rights that allow Plaintiff ACLJ

Northeast to continue operating under its name, Plaintiff ACLJ Northeast has a contractual right

to continue operating under its name pursuant to the Contract between Plaintiff ACLJ Northeast

and Defendant ACLJ National. Defendant ACLJ National is violating the Contract by trying to

negate the existence of the legal entity with which it has contracted. In addition, the demand to

cease using the ACLJ name is also in direct conflict with the previous statements by Defendant

ACLJ National in January 2012 that ACLJ Northeast continues to be responsible for its litigation

cases.

         ACLJ National’s Interference with Plaintiff’s Representation of a Client

         41.    Through its counsel, Attorney Andrew J. Ekonomou, of The Lambros Firm, LLC,

in Atlanta, Georgia, Defendant ACLJ National has also engaged in outrageous behavior designed

to interfere with ACLJ Northeast’s relationship with, and representation of, a client.

         42.    On April 30, 2012, Defendant ACLJ National sent a letter, through its counsel,

Mr. Ekonomou, to a client being represented by Vincent McCarthy and Ann Louise Lohr, each

of whom is a lawyer employed by ACLJ Northeast. Despite having knowledge that lawyers

employed by Plaintiff ACLJ Northeast represented this client, neither Defendant ACLJ National

nor its counsel, Mr. Ekonomou, sought and/or obtained consent from, Plaintiff ACLJ Northeast

regarding the communication to Attorney McCarthy’s and Lohr’s client. Through said letter,

Defendant ACLJ informed the client of ACLJ Northeast that the lawyers representing the client

through ACLJ Northeast, Vincent McCarthy and Ann Louise Lohr, “will no longer be affiliated

with ACLJ National,” and that “with this change in representation, the ACLJ [National] will no




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longer undertake to fund the defense of the litigation. The [Client] will need to make separate

arrangements with [Vincent McCarthy and Ann Louise Lohr, the lawyers of ACLJ Northeast],

assuming they are going to remain your lawyers, regarding the payment of costs and any

attorney’s fees they may charge.”

        43.     After April 30, 2012, Attorney Ekonomou continued contacting the client of

ACLJ Northeast, without the consent of counsel at ACLJ Northeast representing this client,

Vincent McCarthy and Ann Louise Lohr. The purpose of these communications was to demand

that the client choose between its current counsel, Vincent McCarthy and Ann Louise Lohr of

Plaintiff ACLJ Northeast, and Defendant ACLJ National.

        44.     The efforts by Defendant ACLJ National, through its counsel, to communicate

with a client of the lawyers of Plaintiff ACLJ Northeast, for the purposes of interfering with the

representation of that client by the lawyers of ACLJ Northeast, without the consent of the

lawyers of ACLJ Northeast, is a violation of the Rules of Professional Conduct, as well as a

further breach of the contract by Defendant ACLJ National.

        Defendants’ Retaliatory Withholding of Funds

        45.      In order to protect its interests and pursue a preliminary injunction to protect it

from suffering irreparable harm, Plaintiff ACLJ National filed the Complaint in this case on May

16, 2012.

        46.     On May 17, 2012, Defendant ACLJ National and Defendant Sekulow received

notice, through their counsel, that Plaintiff ACLJ Northeast had commenced this action in order

to protect its interests.

        47.     In response, Defendant ACLJ National retaliated against Plaintiff ACLJ Northeast

and immediately ceased any further payments to Plaintiff ACLJ Northeast - - even though it had




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previously communicated that the payments to ACLJ Northeast would continue until July 31,

2012. On May 22, 2012, Andrew Ekonomou, counsel for Defendant ACLJ National, sent the

following e-mail to counsel for Plaintiff ACLJ Northeast (attached as Exhibit D):

                Please take notice that ACLJ’s next payment to the entity “ACLJ/NE” in
                the amount of $12,109.17, as well as any subsequent payments under the
                Inter-Organizational Pledge and Grant Agreement, will be made to the
                trust account of The Lambros Firm, LLC to be held there pending the
                conclusion of the dispute that has arisen between the two entities.

        48.     The payment of $12,109.17 referenced in Attorney’s Ekonomou’s May 22, 2012

e-mail was supposed to have been paid to Plaintiff ACLJ Northeast on May 24, 2012. But, as

Attorney Ekonomou promised in his e-mail, Plaintiff ACLJ Northeast did not receive a payment

on that date.

        49.     On about June 7, 2012, Plaintiff ACLJ Northeast was supposed to receive another

payment from Defendant ACLJ National in excess of $12,000.00. But, as indicated in Attorney

Ekonomou’s May 22, 2012 e-mail, Plaintiff ACLJ Northeast did not receive a payment on that

date.

        50.     As a consequence of Defendants’ retaliatory decision to immediately withhold

funds from Plaintiff ACLJ Northeast as of May 22, 2012, instead of July 31, 2012 as Defendant

ACLJ National previously communicated, Plaintiff ACLJ Northeast is now suffering immediate

harm. Since Plaintiff ACLJ Northeast is completely dependent upon the support it receives from

Defendant ACLJ National pursuant to the Contract, Plaintiff ACLJ Northeast has insufficient

funds to pay its employees and pay its operational or business expenses

        Plaintiff Will Suffer Irreparable Harm

        51.     Plaintiff will suffer irreparable harm if Defendant ACLJ National is allowed to

continue withholding funds from Plaintiff ACLJ Northeast and Defendant ACLJ National is




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allowed to permanently discontinue the funding of ACLJ Northeast that is required by the

Contract.

       52.     If Defendants continue withholding funds from Plaintiff ACLJ Northeast as

indicated in the May 22, 2012 e-mail from Attorney Ekonomou, and permanently terminate the

funding provided by Defendant ACLJ National to ACLJ Northeast as of July 31, 2012, then

Plaintiff ACLJ Northeast will cease to exist, its employees will lose their positions, salaries, and

retirement and medical benefits, and potential clients of ACLJ Northeast will no longer be able

to receive legal representation by ACLJ Northeast under the same terms that Plaintiff ACLJ

Northeast has represented clients for years.

       53.     Since its inception in 1997, Plaintiff ACLJ Northeast has relied almost

exclusively on funds from Defendant ACLJ National pursuant to the Contract.

       54.     Without those funds, it will not be able to pay its employees, or its operating

expenses, and it will be forced to immediately shut down.

       55.     Plaintiff ACLJ Northeast will also be irreparably harmed by the anticipated

breach by Defendant ACLJ National after July 31, 2012 because Plaintiff ACLJ Northeast will

lose all of the “goodwill” that it has developed and created as an organization since its formation.

       56.     The demand by Defendant ACLJ National for Plaintiff ACLJ Northeast to cease

using the “ACLJ” and “American Center for Law and Justice” as part of its name will also cause

irreparable harm to Plaintiff ACLJ Northeast.

       57.     Further, the employees of Plaintiff ACLJ Northeast will lose their jobs, and ACLJ

Northeast will no longer be able to represent clients in the same fashion. Since it has been able

to depend on funds from Defendant ACLJ National to support its operation, the clients of

Plaintiff ACLJ Northeast were never obligated to pay for the cost of the legal services they




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received. If Plaintiff ACLJ Northeast no longer receives funds from Defendant ACLJ National,

potential clients who are in need of the type of legal services that ACLJ Northeast provides in

order to vindicate violations of their fundamental constitutional rights will also be irreparably

harmed because the arrangement under which ACLJ Northeast has historically been able to

represent clients, at no charge, will no longer exist.

        58.     There is no adequate remedy at law to obtain redress for these harms because a

victory at trial at a future date - - after funding from Defendant ACLJ National to ACLJ

Northeast has been terminated - - will not be able to recreate ACLJ Northeast as a viable

enterprise after it no longer exists.

V.      CLAIMS FOR RELIEF

COUNT ONE:              BREACH OF CONTRACT

        59.     Based on the foregoing Paragraphs 1 through 58, Defendants have breached their

contractual obligations to Plaintiff.

        60.     Defendant ACLJ National and Defendant Sekulow had legally enforceable

obligations to Plaintiff ACLJ Northeast.

        61.     Defendant ACLJ National and Defendant Sekulow breached their contractual

obligations to Plaintiff ACLJ Northeast.

        62.     Plaintiff ACLJ Northeast has sustained, and continues to sustain, injury or

damage that was caused by Defendant ACLJ National and Defendant Sekulow breaching their

contractual obligations.




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COUNT TWO:               TORTIOUS INTERFERENCE (as against Defendant ACLJ National)

        63.     Based on the foregoing Paragraphs 1 through 58, Defendant ACLJ National has

tortiously interfered with Plaintiff’s contractual and business relationships with third parties,

including clients.

        64.     Plaintiff ACLJ Northeast has a business and contractual relationship with a third

party client.

        65.     Defendant ACLJ National had knowledge of Plaintiff’s business and contractual

relationship with that third party client.

        66.     Defendant ACLJ National intentionally acted to interfere with Plaintiff’s business

and contractual relationship with that third party client.

        67.     Defendant ACLJ National acted tortiously, and used improper means or methods

to interfere with Plaintiff’s business and contractual relationship with that third party client,

without justification.

        68.     Defendant’s actions caused Plaintiff to suffer damages.

COUNT THREE – DECLARATORY JUDGMENT (AS AGAINST ACLJ NATIONAL)

        69.     Plaintiff hereby incorporates by reference its allegations in Paragraphs 1 through

58 as if fully set forth herein.

        70.     Defendant ACLJ National has failed to meet its legal obligations with respect to

securing and maintaining trademark protection that it allegedly had or has with respect to the

trademark “ACLJ” and/or “American Center for Law and Justice” (hereinafter “ACLJ

trademarks”) such that Plaintiff ACLJ Northeast, Inc. has the legal right to continue operating

under the corporate name it has held since 1997.




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        71.     As set forth above, Defendant ACLJ National, through its counsel, Attorney

Whitelaw, sent a cease and desist letter demanding the cessation of the use of “ACLJ

trademarks” by Plaintiff ACLJ Northeast and its President, Vincent McCarthy.

        72.     Based on the correspondence received from Attorney Whitelaw, an actual

controversy exists between Plaintiff and ACLJ National.

        73.     Plaintiff ACLJ Northeast and Defendant ACLJ National are interested parties in

this matter in that they have legal interest and rights at issue.

        74.     Plaintiff is uncertain as to its legal rights, interest, status, and legal relations and is

fearful because of the existence of a threatened legal action with regard to Plaintiff’s use of the

trademarks “ACLJ Northeast” and “American Center for Law and Justice.”

        75.     Plaintiff seeks a declaratory judgment from this Court holding that the Plaintiff’s

use of the ACLJ trademark(s) does/do not constitute trademark infringement under Lanham Act,

Section 32, and that ACLJ has failed to take legally required steps to protect said trademark(s).

        76.     Therefore, Plaintiff seeks an early adjudication of its rights so it will not be

hindered in the operation of its business enterprise.




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   PRAYER FOR RELIEF

         1.     Compensation for all damages caused by Defendants’ unlawful conduct,

including inter alia, breach of contract and tortious interference, as well as attorney’s fees and

costs;

         2.     Declaratory relief, ruling that Defendants have acted unlawfully and breached

their obligations to Plaintiff. Also that ACLJ National has lost any trademark protection that it

ever had by granting to ACLJ Northeast the unlimited right to use the trademark “ACLJ” and

furthermore, took no steps to keep others, including ACLJ Northeast, from using this trademark

with their knowledge and permission, express or implied;

         3.     Preliminary injunctive relief, including, but not limited to, an Order prohibiting

Defendants from violating the Contract between the parties, directing Defendant ACLJ National

to release funds to Plaintiff that have been withheld since May 22, 2012, and prohibiting

Defendant ACLJ National from discontinuing the funding provided by Defendant ACLJ

National to Plaintiff ACLJ Northeast as required by the Contract, as of and after July 31, 2012;

         4.     Permanent injunctive relief, including but not limited to, an Order prohibiting

Defendants from breaching their contractual obligations to Plaintiff, and prohibiting Defendants

from terminating or cancelling the Contract with Plaintiff without cause.

JURY DEMAND

         Plaintiff hereby demands a trial by jury.




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                                               PLAINTIFF, AMERICAN CENTER FOR LAW
                                               AND JUSTICE – NORTHEAST, INC.



                                           By:______/s/ Todd D. Steigman___
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                                CERTIFICATION OF SERVICE

        I hereby certify that on this 11th day of June, 2012 a copy of the foregoing was filed
electronically [and served by mail on anyone unable to accept electronic filing]. Notice of this
filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system [or
by mail to anyone unable to accept electronic filing]. Parties may access this filing through the
Court’s system.
                                                /s/ Todd D. Steigman
                                         Todd D. Steigman




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